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                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                           April 22, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                         Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
ASCEND PERFORMANCE MATERIALS                                      )   Case No. 25-90127 (CML)
HOLDINGS INC., 1                                                  )
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
APM (CANADA) LLC,                                                 )   Case No. 25-90128 (CML)
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
APM (PR) LLC,                                                     )   Case No. 25-90129 (CML)
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
APM DISC HOLDINGS LLC,                                            )   Case No. 25-90130 (CML)
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/Ascend. The location of Debtor Ascend
    Performance Materials Holdings Inc.’s principal place of business is 1010 Travis St., Suite 900, Houston,
    Texas 77002.
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                                              )
In re:                                        )   Chapter 11
                                              )
APM DISC INC.,                                )   Case No. 25-90131 (CML)
                                              )
                          Debtor.             )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
APM FOREIGN HOLDINGS LLC,                     )   Case No. 25-90132 (CML)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
ASCEND PERFORMANCE MATERIALS                  )   Case No. 25-90133 (CML)
CONSUMER SOLUTIONS HOLDINGS LLC,              )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
ASCEND PERFORMANCE MATERIALS                  )   Case No. 25-90134 (CML)
CONSUMER SOLUTIONS LLC,                       )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
ASCEND PERFORMANCE MATERIALS INC.,            )   Case No. 25-90135 (CML)
                                              )
                          Debtor.             )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                                                  )
In re:                                                            )    Chapter 11
                                                                  )
ASCEND PERFORMANCE MATERIALS                                      )    Case No. 25-90136 (CML)
OPERATIONS LLC,                                                   )
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX                                           )
                                                                  )
In re:                                                            )    Chapter 11
                                                                  )
ASCEND PERFORMANCE MATERIALS                                      )    Case No. 25-90137 (CML)
TEXAS INC.,                                                       )
                                                                  )
                                   Debtor.                        )
                                                                  )
Tax I.D. No. XX-XXXXXXX

                ORDER (I) DIRECTING JOINT ADMINISTRATION
    OF THE DEBTORS’ CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

         Upon the emergency motion (the “Motion”) 2 of the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) directing the

joint administration of the Debtors’ chapter 11 cases for procedural purposes only and

(b) granting related relief, all as more fully set forth in the Motion; and upon the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Order of Reference to Bankruptcy Judges from the United States District Court for

the Southern District of Texas, entered May 24, 2012; and this Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in the


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     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.




                                                         3
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best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing, if any, establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered under the case of Ascend Performance Materials Holdings

Inc., Case No. 25-90127 (CML).          All of the jointly administered cases are assigned to

Judge Christopher M. Lopez.

       2.      Additionally, the following checked items are ordered:

               a.             One disclosure statement and plan of reorganization
                               may be filed for all of the cases by any plan
                               proponent.

               b.             Parties may request joint hearings on matters
                               pending in any of the jointly administered cases.

               c.             Other: See below.

       3.      The caption of the jointly administered cases will read as follows:




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
ASCEND PERFORMANCE MATERIALS                                      )   Case No. 25-90127 (CML)
HOLDINGS INC., et al., 1                                          )
                                                                  )
                          Debtors.                                )   (Jointly Administered)
                                                                  )
1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/Ascend. The location of Debtor Ascend
    Performance Materials Holdings Inc.’s principal place of business is 1010 Travis St., Suite 900, Houston,
    Texas 77002.

         4.      All pleadings and other papers filed in these chapter 11 cases shall bear the

foregoing consolidated caption.

         5.      The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

         6.      A docket entry, substantially similar to the following, shall be entered on the

dockets of each of the Debtors, other than Ascend Performance Materials Holdings Inc., to

reflect the joint administration of these chapter 11 cases:

                 An order has been entered in accordance with rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and rule 1015-1 of the
                 Bankruptcy Local Rules for the Southern District of Texas
                 directing joint administration of the chapter 11 cases of: Ascend
                 Performance Materials Holdings Inc., Case No. 25-90127 (CML);
                 APM (Canada) LLC, Case No. 25-90128 (CML); APM (PR) LLC,
                 Case No. 25-90129 (CML); APM Disc Holdings LLC, Case No.
                 25-90130 (CML); APM Disc Inc., Case No. 25-90131 (CML);
                 APM Foreign Holdings LLC, Case No. 25-90132 (CML); Ascend
                 Performance Materials Consumer Solutions Holdings LLC, Case
                 No. 25-90133 (CML); Ascend Performance Materials Consumer
                 Solutions LLC, Case No. 25-90134 (CML); Ascend Performance
                 Materials Inc., Case No. 25-90135 (CML); Ascend Performance
                 Materials Operations LLC, Case No. 25-90136 (CML); and
                 Ascend Performance Materials Texas Inc., Case No. 25-90137



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               (CML). All further pleadings and other papers shall be filed in
               and all further docket entries shall be made in Case
               No. 25-90127 (CML).

       7.      The Debtors shall maintain, and the Clerk of this Court shall keep, one

consolidated docket, one file, and one consolidated service list for these chapter 11 cases.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the Debtors’ rights to seek entry of an order substantively

consolidating their respective cases.

       9.      Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Rules, the Bankruptcy Local

Rules, and the Complex Case Procedures are satisfied by such notice.

       10.     Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this Order are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated:
           August
          April 22, 02,
                    20252019
                                                     HONORABLE CHRISTOPHER M. LOPEZ
                                                     UNITED STATES BANKRUPTCY JUDGE




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